              Case 10-04051-MM7                              Filed 03/15/10                     Entered 03/15/10 09:26:26                               Doc 1        Pg. 1 of 45
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                   Southern District of California                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Frederick, Kirk W.                                                                                       Frederick, Rebecca Jones


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
                                                                                                           AKA Rebecca Keith-Jones; FDBA Real Estate Spectrum;
                                                                                                           DBA Allegro Interiors


Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-1662                                                                                              xxx-xx-1766
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  7705 Allegro Lane                                                                                       7705 Allegro Lane
  San Diego, CA                                                                                           San Diego, CA
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     92127                                                                                        92127
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  San Diego                                                                                                San Diego
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** David E. Britton CLS-B 75926 ***                                                                THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000

Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
             Case 10-04051-MM7                      Filed 03/15/10             Entered 03/15/10 09:26:26                           Doc 1          Pg. 2 of 45
B1 (Official Form 1)(1/08)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Frederick, Kirk W.
(This page must be completed and filed in every case)                                   Frederick, Rebecca Jones
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                  Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                 Judge:

                                       Exhibit A                                                                               Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X    /s/ David E. Britton CLS-B                             March 15, 2010
                                                                                            Signature of Attorney for Debtor(s)                    (Date)
                                                                                             David E. Britton CLS-B 75926

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
             Case 10-04051-MM7                        Filed 03/15/10               Entered 03/15/10 09:26:26                        Doc 1         Pg. 3 of 45
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Frederick, Kirk W.
(This page must be completed and filed in every case)                                       Frederick, Rebecca Jones
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Kirk W. Frederick                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Kirk W. Frederick

 X    /s/ Rebecca Jones Frederick                                                              Printed Name of Foreign Representative
     Signature of Joint Debtor Rebecca Jones Frederick
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     March 15, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ David E. Britton CLS-B
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      David E. Britton CLS-B 75926                                                             debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Lockhart & Britton
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      7777 Alvarado Road
      Suite 622                                                                                Social-Security number (If the bankrutpcy petition preparer is not
      La Mesa, CA 91942                                                                        an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      619-698-6800
     Telephone Number
     March 15, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 10-04051-MM7                            Filed 03/15/10              Entered 03/15/10 09:26:26    Doc 1    Pg. 4 of 45



B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                       Southern District of California
             Kirk W. Frederick
 In re       Rebecca Jones Frederick                                                                       Case No.
                                                                                       Debtor(s)           Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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             Case 10-04051-MM7                                 Filed 03/15/10          Entered 03/15/10 09:26:26   Doc 1   Pg. 5 of 45



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                         Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ Kirk W. Frederick
                                                                                           Kirk W. Frederick
                                                          Date:           March 15, 2010




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            Case 10-04051-MM7                            Filed 03/15/10              Entered 03/15/10 09:26:26    Doc 1    Pg. 6 of 45



B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                       Southern District of California
             Kirk W. Frederick
 In re       Rebecca Jones Frederick                                                                       Case No.
                                                                                       Debtor(s)           Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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             Case 10-04051-MM7                                 Filed 03/15/10          Entered 03/15/10 09:26:26         Doc 1   Pg. 7 of 45



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ Rebecca Jones Frederick
                                                                                           Rebecca Jones Frederick
                                                          Date:           March 15, 2010




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                Case 10-04051-MM7                           Filed 03/15/10                 Entered 03/15/10 09:26:26           Doc 1    Pg. 8 of 45

B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                       Southern District of California
  In re          Kirk W. Frederick,                                                                                  Case No.
                 Rebecca Jones Frederick
                                                                                                               ,
                                                                                              Debtors                Chapter                   13




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF           ASSETS                LIABILITIES             OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                   809,010.00


B - Personal Property                                            Yes                4                    35,836.14


C - Property Claimed as Exempt                                   Yes                2


D - Creditors Holding Secured Claims                             Yes                1                                          987,572.92


E - Creditors Holding Unsecured                                  Yes                2                                            2,186.12
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                5                                          164,133.84
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                                   8,496.10
    Debtor(s)

J - Current Expenditures of Individual                           Yes                2                                                                   7,005.15
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          20


                                                                           Total Assets                 844,846.14


                                                                                                Total Liabilities          1,153,892.88




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Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                       Southern District of California
  In re           Kirk W. Frederick,                                                                                        Case No.
                  Rebecca Jones Frederick
                                                                                                                 ,
                                                                                              Debtors                       Chapter                   13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                         Amount

              Domestic Support Obligations (from Schedule E)                                                             0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                     2,186.12

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                         0.00

              Student Loan Obligations (from Schedule F)                                                                 0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                         0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                         0.00

                                                                                     TOTAL                           2,186.12


              State the following:

              Average Income (from Schedule I, Line 16)                                                              8,496.10

              Average Expenses (from Schedule J, Line 18)                                                            7,005.15

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                                   0.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                              158,837.92

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                     2,186.12

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                                    0.00

              4. Total from Schedule F                                                                                                        164,133.84

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                    322,971.76




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              Case 10-04051-MM7                            Filed 03/15/10                  Entered 03/15/10 09:26:26            Doc 1       Pg. 10 of 45

B6A (Official Form 6A) (12/07)


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  In re          Kirk W. Frederick,                                                                                       Case No.
                 Rebecca Jones Frederick
                                                                                                              ,
                                                                                                Debtors
                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

7705 Allegro Lane, San Diego CA                                                      Husband and Wife Joint       C                  809,010.00               955,000.00
                                                                                     Tenancy




                                                                                                              Sub-Total >            809,010.00       (Total of this page)

                                                                                                                      Total >        809,010.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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              Case 10-04051-MM7                            Filed 03/15/10                  Entered 03/15/10 09:26:26                Doc 1       Pg. 11 of 45

B6B (Official Form 6B) (12/07)


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  In re          Kirk W. Frederick,                                                                                         Case No.
                 Rebecca Jones Frederick
                                                                                                                ,
                                                                                               Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              Cash in Debtor's possession (exempt to maximum                         C                            40.00
                                                                allowed)

2.    Checking, savings or other financial                      US Bank checking account (claimed exempt to                            C                            52.83
      accounts, certificates of deposit, or                     maximum amount allowed)
      shares in banks, savings and loan,
      thrift, building and loan, and                            US Bank savings account (claimed exempt to                             C                              6.01
      homestead associations, or credit                         maximum amount allowed)
      unions, brokerage houses, or
      cooperatives.                                             Bank of America checking account (claimed                              C                           200.00
                                                                exempt to maximum amount allowed)

                                                                North Island Federal Credit Union bank account                         C                        1,400.00
                                                                (claimed exempt to maximum amount allowed)

3.    Security deposits with public                         X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                          Usual and Customary                                                    C                        5,000.00
      including audio, video, and
      computer equipment.                                       Computer                                                               C                           500.00

5.    Books, pictures and other art                             Usual and Customary                                                    C                           500.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          Usual and Customary                                                    C                        1,000.00

7.    Furs and jewelry.                                         Usual and Customary                                                    C                           200.00

8.    Firearms and sports, photographic,                        Keyboard/music equipment                                               C                        1,500.00
      and other hobby equipment.                                Camera

9.    Interests in insurance policies.                      X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.



                                                                                                                                       Sub-Total >          10,398.84
                                                                                                                           (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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              Case 10-04051-MM7                            Filed 03/15/10                  Entered 03/15/10 09:26:26                Doc 1       Pg. 12 of 45

B6B (Official Form 6B) (12/07) - Cont.




  In re          Kirk W. Frederick,                                                                                         Case No.
                 Rebecca Jones Frederick
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                          Wife's Hilliard Lyons IRA                                              C                        1,412.30
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                         9% Ownership interest in QVO, LLC                                      C                              0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                         Inheritence from Lon McCalister (in litigation)                        C                      Unknown
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                       Sub-Total >            1,412.30
                                                                                                                           (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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              Case 10-04051-MM7                            Filed 03/15/10                  Entered 03/15/10 09:26:26                Doc 1       Pg. 13 of 45

B6B (Official Form 6B) (12/07) - Cont.




  In re          Kirk W. Frederick,                                                                                         Case No.
                 Rebecca Jones Frederick
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          1995 Jaguar XJ6 (177,000 miles)                                        C                        1,800.00
    other vehicles and accessories.                             FMV per Kelley Blue Book; Property is insured

                                                                2007 Chrysler 300C (56,000 miles)                                      C                      19,725.00
                                                                FMV per Kelley Blue Book; Property is insured

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                          Usual and Customary                                                    C                        1,000.00
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X


                                                                                                                                       Sub-Total >          22,525.00
                                                                                                                           (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Kirk W. Frederick,                                                                                         Case No.
                 Rebecca Jones Frederick
                                                                                                                ,
                                                                                                Debtors
                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

35. Other personal property of any kind                         Timeshare                                                               C                       1,500.00
    not already listed. Itemize.




                                                                                                                                       Sub-Total >            1,500.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         35,836.14
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)


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   In re          Kirk W. Frederick,                                                                                      Case No.
                  Rebecca Jones Frederick
                                                                                                                 ,
                                                                                                Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                          Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                          $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                   Value of            Current Value of
                    Description of Property                                                Each Exemption                       Claimed             Property Without
                                                                                                                               Exemption          Deducting Exemption
Cash on Hand
Cash in Debtor's possession (exempt to                                         C.C.P. § 703.140(b)(5)                                   40.00                      40.00
maximum allowed)

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
US Bank checking account (claimed exempt to       C.C.P. § 703.140(b)(5)                                                                52.83                      52.83
maximum amount allowed)

US Bank savings account (claimed exempt to                                     C.C.P. § 703.140(b)(5)                                      6.01                      6.01
maximum amount allowed)

Bank of America checking account (claimed                                      C.C.P. § 703.140(b)(5)                                  200.00                     200.00
exempt to maximum amount allowed)

North Island Federal Credit Union bank account                                 C.C.P. § 703.140(b)(5)                                1,400.00                  1,400.00
(claimed exempt to maximum amount allowed)

Household Goods and Furnishings
Usual and Customary                                                            C.C.P. § 703.140(b)(3)                                5,000.00                  5,000.00

Computer                                                                       C.C.P. § 703.140(b)(3)                                      0.00                   500.00

Books, Pictures and Other Art Objects; Collectibles
Usual and Customary                                 C.C.P. § 703.140(b)(3)                                                             500.00                     500.00

Wearing Apparel
Usual and Customary                                                            C.C.P. § 703.140(b)(3)                                1,000.00                  1,000.00

Furs and Jewelry
Usual and Customary                                                            C.C.P. § 703.140(b)(4)                                  200.00                     200.00

Firearms and Sports, Photographic and Other Hobby Equipment
Keyboard/music equipment                        C.C.P. § 703.140(b)(3)                                                               1,500.00                  1,500.00
Camera

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Wife's Hilliard Lyons IRA                           C.C.P. § 703.140(b)(10)(E)                                                       1,412.30                  1,412.30

Stock and Interests in Businesses
9% Ownership interest in QVO, LLC                                              C.C.P. § 703.140(b)(5)                                      0.00                      0.00

Equitable or Future Interests, Life Estates, etc.
Inheritence from Lon McCalister (in litigation)                                C.C.P. § 703.140(b)(5)                                   100%                 Unknown

Automobiles, Trucks, Trailers, and Other Vehicles
1995 Jaguar XJ6 (177,000 miles)                                                C.C.P. § 703.140(b)(2)                                1,800.00                  1,800.00
FMV per Kelley Blue Book; Property is insured

2007 Chrysler 300C (56,000 miles)                                              C.C.P. § 703.140(b)(5)                                      0.00              19,725.00
FMV per Kelley Blue Book; Property is insured

    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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                Case 10-04051-MM7                           Filed 03/15/10                  Entered 03/15/10 09:26:26      Doc 1      Pg. 16 of 45

 B6C (Official Form 6C) (12/07) -- Cont.




   In re          Kirk W. Frederick,                                                                                Case No.
                  Rebecca Jones Frederick
                                                                                                                ,
                                                                                                 Debtors
                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing            Value of           Current Value of
                    Description of Property                                                Each Exemption                Claimed            Property Without
                                                                                                                        Exemption         Deducting Exemption

Office Equipment, Furnishings and Supplies
Usual and Customary                                                            C.C.P. § 703.140(b)(6)                          1,000.00               1,000.00

Other Personal Property of Any Kind Not Already Listed
Timeshare                                         C.C.P. § 703.140(b)(5)                                                       1,500.00               1,500.00




                                                                                                     Total:                 15,611.14                35,836.14
 Sheet      1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re          Kirk W. Frederick,                                                                                             Case No.
                  Rebecca Jones Frederick
                                                                                                                    ,
                                                                                                   Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W               NATURE OF LIEN, AND                        I    Q   U                      PORTION, IF
                                                              T   J              DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                   OF PROPERTY
                                                              R
                                                                                     SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. 5303354418                                                2006                                                        E
                                                                                                                                  D

Chase Home Finance                                                    First Trust Deed
4500 Cherry Creek S. Drive
Suite 410                                                             7705 Allegro Lane, San Diego CA
                                                                  C
Denver, CO 80246

                                                                       Value $                           809,010.00                           955,000.00         145,990.00
Account No. 511776628                                                 9/2007

US Bank                                                               Vehicle Loan
PO Box 790408
Saint Louis, MO 63179                                                 2007 Chrysler 300C
                                                                  C

                                                                       Value $                               19,725.00                         32,572.92           12,847.92
Account No.




                                                                       Value $
Account No.




                                                                       Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            987,572.92         158,837.92
                                                                                                                 (Total of this page)
                                                                                                                           Total              987,572.92         158,837.92
                                                                                                 (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)


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  In re          Kirk W. Frederick,                                                                                       Case No.
                 Rebecca Jones Frederick
                                                                                                                    ,
                                                                                                  Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1          continuation sheets attached
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               Case 10-04051-MM7                            Filed 03/15/10                  Entered 03/15/10 09:26:26                    Doc 1     Pg. 19 of 45

 B6E (Official Form 6E) (12/07) - Cont.




   In re          Kirk W. Frederick,                                                                                           Case No.
                  Rebecca Jones Frederick
                                                                                                                  ,
                                                                                                   Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                           Taxes and Certain Other Debts
                                                                                                                            Owed to Governmental Units
                                                                                                                                        TYPE OF PRIORITY
                                                              C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                 O                                                            O    N   I                       AMOUNT NOT
                                                              D                                                            N    L   S                       ENTITLED TO
           AND MAILING ADDRESS                                E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT           PRIORITY, IF ANY
            INCLUDING ZIP CODE,                               B   W
                                                                           AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                           OF CLAIM
           AND ACCOUNT NUMBER                                 T   J                                                        N    U   T                                 AMOUNT
                                                              O                                                            G    I   E                              ENTITLED TO
              (See instructions.)                             R   C                                                        E    D   D
                                                                                                                           N    A
                                                                                                                                                                      PRIORITY
                                                                                                                           T    T
Account No.                                                           2008-2009                                                 E
                                                                                                                                D

Internal Revenue Service                                              Non-dischargeable federal taxes
Centralized Insolvency                                                                                                                                      0.00
PO Box 21126
                                                                  C
Philadelphia, PA 19114

                                                                                                                                                 2,186.12             2,186.12
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                   Subtotal                            0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                        (Total of this page)              2,186.12             2,186.12
                                                                                                                           Total                            0.00
                                                                                                 (Report on Summary of Schedules)                2,186.12             2,186.12

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 B6F (Official Form 6F) (12/07)


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   In re          Kirk W. Frederick,                                                                                     Case No.
                  Rebecca Jones Frederick
                                                                                                                     ,
                                                                                                   Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                         2003-2008                                               T   T
                                                                                                                                                E
                                                                                    Credit card debt                                            D

American Express
PO Box 981535                                                                   C
El Paso, TX 79998

                                                                                                                                                                     65,410.62
Account No.

MRS Associates                                                                      Representing:
701 Brooksedge Plaza Dr.                                                            American Express                                                               Notice Only
Westerville, OH 43081



Account No.

Nationwide Credit                                                                   Representing:
2015 Vaughn Road                                                                    American Express                                                               Notice Only
Bldg. 400
Kennesaw, GA 30144


Account No.

NCO Financial System                                                                Representing:
507 Prudential Road                                                                 American Express                                                               Notice Only
Horsham, PA 19044



                                                                                                                                        Subtotal
 4
_____ continuation sheets attached                                                                                                                                   65,410.62
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kirk W. Frederick,                                                                                     Case No.
                  Rebecca Jones Frederick
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         2009                                                    E
                                                                                    Membership Dues                                         D

Aspen National Collection
PO Box 10689                                                                    C
Brooksville, FL 34603

                                                                                                                                                                1,357.40
Account No.                                                                         2007
                                                                                    Credit card debt
Bank of America
PO Box 15184                                                                    C
Wilmington, DE 19850

                                                                                                                                                              39,849.17
Account No.

Frederick Hanna & Assoc.                                                            Representing:
1427 Roswell Road                                                                   Bank of America                                                         Notice Only
Marietta, GA 30062



Account No.

Hunt & Henriques                                                                    Representing:
151 Bernal Road #8                                                                  Bank of America                                                         Notice Only
San Jose, CA 95119



Account No.                                                                         2007-2008
                                                                                    Credit card debt
Bank of America
PO Box 301200                                                                   C
Los Angeles, CA 90030

                                                                                                                                                              11,982.77

           1
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              53,189.34
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kirk W. Frederick,                                                                                     Case No.
                  Rebecca Jones Frederick
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
                                                                            B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No. 5524-7510-0006-4232                                                     2005-2008                                               E
                                                                                    Credit card debt                                        D

Chase
PO Box 94014                                                                    C
Palatine, IL 60094

                                                                                                                                                                6,722.89
Account No. 4266-8410-9911-0841                                                     2006-2009
                                                                                    Credit card debt
Chase
PO Box 15298                                                                    C
Wilmington, DE 19850

                                                                                                                                                                1,416.64
Account No.                                                                         2003-2008
                                                                                    Credit card debt
Citibank
PO Box 6000                                                                     C
The Lakes, NV 89163-6000

                                                                                                                                                                7,510.05
Account No.                                                                         2008
                                                                                    Credit card debt
Dell Preferred Account
Payment Processing Center                                                       C
PO Box 6403
Carol Stream, IL 60197
                                                                                                                                                                3,344.43
Account No.                                                                         2009
                                                                                    Vehicle fees
Department of Motor Vehicles
PO Box 932325                                                                   C
Sacramento, CA 94232

                                                                                                                                                                  577.00

           2
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                              19,571.01
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kirk W. Frederick,                                                                                     Case No.
                  Rebecca Jones Frederick
                                                                                                                     ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                        O                                                           O   N   I
                    MAILING ADDRESS                                         D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND               T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.           G   I   E
                   (See instructions above.)                                R                                                           E   D   D
                                                                                                                                        N   A
                                                                                                                                        T   T
Account No.                                                                         2007                                                    E
                                                                                    Credit card debt                                        D

Kohl's
PO Box 3043                                                                     C
Milwaukee, WI 53201

                                                                                                                                                                  824.33
Account No.                                                                         2009
                                                                                    Fees
Land Rover Capital Group
Dept. 194501                                                                    C
PO Box 55000
Detroit, MI 48255
                                                                                                                                                                2,273.21
Account No.                                                                         2008
                                                                                    Credit card debt
Nordstrom
PO Box 79137                                                                    C
Phoenix, AZ 85062

                                                                                                                                                                5,135.20
Account No.

First Source Advantage                                                              Representing:
205 Bryant Woods South                                                              Nordstrom                                                               Notice Only
Buffalo, NY 14228



Account No.                                                                         2009
                                                                                    Membership Dues
Raintree Vacation Club
PO Box 33370                                                                    C
Las Vegas, NV 89133

                                                                                                                                                                1,431.20

           3
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                               Subtotal
                                                                                                                                                                9,663.94
Creditors Holding Unsecured Nonpriority Claims                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Kirk W. Frederick,                                                                                           Case No.
                  Rebecca Jones Frederick
                                                                                                                      ,
                                                                                                   Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                            E
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                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
                                                                            B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.                  G   I   E
                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                         1980                                                           E
                                                                                    collection account                                             D

RJM Acquisitions
575 Underhill Blvd. #224                                                        C
Syosset, NY 11791

                                                                                                                                                                         607.10
Account No. 4798-5312-0521-7575                                                     2006-2008
                                                                                    Credit card debt
US Bank
PO Box 790408                                                                   C
Saint Louis, MO 63179

                                                                                                                                                                     13,353.83
Account No.

US Bank                                                                             Representing:
PO Box 790084                                                                       US Bank                                                                        Notice Only
Saint Louis, MO 63179



Account No.                                                                         2009
                                                                                    Fees
Verrazzano HOA
9610 Waples Street                                                              C
San Diego, CA 92121

                                                                                                                                                                       2,338.00
Account No.




           4
Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                     16,298.93
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)              164,133.84


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B6G (Official Form 6G) (12/07)


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  In re             Kirk W. Frederick,                                                                                    Case No.
                    Rebecca Jones Frederick
                                                                                                               ,
                                                                                              Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                     State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                           State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case 10-04051-MM7                           Filed 03/15/10                  Entered 03/15/10 09:26:26   Doc 1     Pg. 26 of 45

B6H (Official Form 6H) (12/07)


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  In re          Kirk W. Frederick,                                                                              Case No.
                 Rebecca Jones Frederick
                                                                                                          ,
                                                                                              Debtors
                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                    NAME AND ADDRESS OF CREDITOR




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               continuation sheets attached to Schedule of Codebtors
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         Case 10-04051-MM7                  Filed 03/15/10          Entered 03/15/10 09:26:26                  Doc 1        Pg. 27 of 45
B6I (Official Form 6I) (12/07)

          Kirk W. Frederick
 In re    Rebecca Jones Frederick                                                                       Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                          DEBTOR                                                     SPOUSE
Occupation                           Vice President                                          Interior Design
Name of Employer                     Q-VIO                                                   Self-Employed
How long employed                    3 years                                                 3 years
Address of Employer                  10770 Wateridge Circle                                  Allegro Interiors
                                     San Diego, CA 92121                                     7705 Allegro Lane
                                                                                             San Diego, CA 92127
INCOME: (Estimate of average or projected monthly income at time case filed)                                 DEBTOR                       SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                           $      4,000.00           $            0.00
2. Estimate monthly overtime                                                                            $          0.00           $            0.00

3. SUBTOTAL                                                                                              $         4,000.00       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             653.90     $             0.00
     b. Insurance                                                                                        $               0.00     $             0.00
     c. Union dues                                                                                       $               0.00     $             0.00
     d. Other (Specify):                                                                                 $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             653.90     $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,346.10       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $        2,150.00
8. Income from real property                                                                             $               0.00     $            0.00
9. Interest and dividends                                                                                $               0.00     $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):           Commission                                                                          $         3,000.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         3,000.00       $        2,150.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         6,346.10       $        2,150.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            8,496.10
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Case 10-04051-MM7             Filed 03/15/10        Entered 03/15/10 09:26:26               Doc 1       Pg. 28 of 45
B6J (Official Form 6J) (12/07)

          Kirk W. Frederick
 In re    Rebecca Jones Frederick                                                             Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                3,917.62
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  350.00
                   b. Water and sewer                                                                        $                   60.00
                   c. Telephone                                                                              $                   44.53
                   d. Other See Detailed Expense Attachment                                                  $                  269.00
3. Home maintenance (repairs and upkeep)                                                                     $                  167.00
4. Food                                                                                                      $                  400.00
5. Clothing                                                                                                  $                   50.00
6. Laundry and dry cleaning                                                                                  $                   30.00
7. Medical and dental expenses                                                                               $                   50.00
8. Transportation (not including car payments)                                                               $                  150.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   60.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                   75.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                  125.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Property Tax                                                                      $                1,047.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other                                                                                  $                    0.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other Pet Expenses                                                                                       $                   50.00
    Other Miscellaneous                                                                                      $                  160.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                7,005.15
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                8,496.10
b. Average monthly expenses from Line 18 above                                                               $                7,005.15
c. Monthly net income (a. minus b.)                                                                          $                1,490.95
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B6J (Official Form 6J) (12/07)
           Kirk W. Frederick
 In re     Rebecca Jones Frederick                                            Case No.
                                                         Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                             Detailed Expense Attachment
Other Utility Expenditures:
Cable                                                                                     $               75.00
Cell                                                                                      $              130.00
Trash                                                                                     $               29.00
Internet                                                                                  $               35.00
Total Other Utility Expenditures                                                          $              269.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                       Southern District of California
             Kirk W. Frederick
 In re       Rebecca Jones Frederick                                                                              Case No.
                                                                                          Debtor(s)               Chapter    13




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                22
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date March 15, 2010                                                          Signature   /s/ Kirk W. Frederick
                                                                                          Kirk W. Frederick
                                                                                          Debtor


 Date March 15, 2010                                                          Signature   /s/ Rebecca Jones Frederick
                                                                                          Rebecca Jones Frederick
                                                                                          Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                United States Bankruptcy Court
                                                                      Southern District of California
             Kirk W. Frederick
 In re       Rebecca Jones Frederick                                                                           Case No.
                                                                                            Debtor(s)          Chapter        13


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                           DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                             __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $12,000.00                              2010: Debtor's Employment Income Year to Date
                          $80,000.00                              2009:
                          $0.00                                   2008: (loss)
                          $800.00                                 2010: Spouse's Employment Income Year to Date
                          $22,046.00                              2009: TBD
                          $22,046.00                              2008:




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $29,400.00                              2009: Debtor's Rental Property Income
                          $1,680.00                               2008:

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                               DATES OF                                              AMOUNT STILL
      OF CREDITOR                                                               PAYMENTS                       AMOUNT PAID               OWING
 US Bank                                                                        $680.06/month                     $4,080.36            $32,572.92
 ******

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                    AMOUNT
                                                                                DATES OF                             PAID OR
                                                                                PAYMENTS/                          VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                   TRANSFERS                         TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                    DATE OF PAYMENT                AMOUNT PAID              OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                            COURT OR AGENCY          STATUS OR
 AND CASE NUMBER                               NATURE OF PROCEEDING                         AND LOCATION             DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                              DATE OF SEIZURE                PROPERTY


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                                                                                                                                                             3

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                      FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                     TRANSFER OR RETURN                    PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                        TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                NAME AND LOCATION
 NAME AND ADDRESS                                                    OF COURT                           DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                 CASE TITLE & NUMBER                     ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                          RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                          DEBTOR, IF ANY                        DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                    DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                              LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                       BY INSURANCE, GIVE PARTICULARS            DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                 DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                              NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
     OF PAYEE                                                                       THAN DEBTOR                               OF PROPERTY
 David E. Britton                                                              March 2010                             $1,500.00
 7777 Alvarado Rd Suite 622
 La Mesa, CA 91941




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               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                  DATE                              AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                      DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                             TRANSFER(S)                IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                TYPE OF ACCOUNT, LAST FOUR
                                                                                 DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                               AND AMOUNT OF FINAL BALANCE                       OR CLOSING
 US Bank                                                                       Checking account: $2.00                  Closed: December 2009
 Torrey Highlands Branch
 US Bank                                                                       Savings account: $5.00                   Closed: December 2009
 Torrey Highlands Branch

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                            NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                   OF THOSE WITH ACCESS                        DESCRIPTION             DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                       TO BOX OR DEPOSITORY                        OF CONTENTS              SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                  DATE OF SETOFF                           AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                  DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY
 Robilee Frederick                                          Art                                               Debtor's Residence
 1417 Hudson Street                                         Value: $25,000.00
 St. Helena, CA



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                                                                                                                                                             5

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                       NAME USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                     "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                     owned or operated by the debtor, including, but not limited to, disposal sites.

                     "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                     pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                            NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                      GOVERNMENTAL UNIT                           NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                            NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                      GOVERNMENTAL UNIT                           NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                             DOCKET NUMBER                           STATUS OR DISPOSITION




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                                                                                                                                                               6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                ADDRESS                         NATURE OF BUSINESS         ENDING DATES
 Allegro Interiors                  xxx-xx-1766                         7705 Allegro Lane               Interior Design            2006- present
                                                                        San Diego, CA 92127
 Real Estate Spectrum xxx-xx-1662                                       7705 Allegro Lane               Real Estate Consulting     1985- present
                                                                        San Diego, CA 92127

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                        ADDRESS




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                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 15, 2010                                                         Signature       /s/ Kirk W. Frederick
                                                                                             Kirk W. Frederick
                                                                                             Debtor


 Date March 15, 2010                                                         Signature       /s/ Rebecca Jones Frederick
                                                                                             Rebecca Jones Frederick
                                                                                             Joint Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                       Southern District of California
             Kirk W. Frederick
 In re       Rebecca Jones Frederick                                                                                Case No.
                                                                                          Debtor(s)                 Chapter    13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                       $               4,000.00
              Prior to the filing of this statement I have received                                             $               1,500.00
              Balance Due                                                                                       $               2,500.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):            Through Chapter 13 plan

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]

                   United States Trustee Southern District of California Rights and Responsibilities of Chapter 13 Debtors and Their
                   Attorney incorporated herein by reference.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other contested matters.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       March 15, 2010                                                              /s/ David E. Britton CLS-B
                                                                                          David E. Britton CLS-B 75926
                                                                                          Lockhart & Britton
                                                                                          7777 Alvarado Road
                                                                                          Suite 622
                                                                                          La Mesa, CA 91942
                                                                                          619-698-6800




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CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 David E. Britton CLS-B 75926
 7777 Alvarado Road
 Suite 622
 La Mesa, CA 91942
 619-698-6800
 75926

                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Kirk W. Frederick                                                                                   BANKRUPTCY NO.
 Rebecca Jones Frederick



                                                                                          Debtor.

                                                             VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                                 TOTAL NO. OF CREDITORS:       25

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                              TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.
 Date:      March 15, 2010                                                   /s/ Kirk W. Frederick
                                                                             Kirk W. Frederick
                                                                             Signature of Debtor

 Date:      March 15, 2010                                                   /s/ Rebecca Jones Frederick
                                                                             Rebecca Jones Frederick
                                                                             Signature of Debtor




                                                            REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                                                     INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)           A new petition is filed. Diskette required.

            b)           A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)           An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                         debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)           When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                         mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)           For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                         mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                         security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)           Scannable matrix format required.

            b)           The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                         portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)           Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                         each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                         on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




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                         American Express
                         PO Box 981535
                         El Paso, TX 79998



                         Aspen National Collection
                         PO Box 10689
                         Brooksville, FL 34603



                         Bank of America
                         PO Box 15184
                         Wilmington, DE 19850



                         Bank of America
                         PO Box 301200
                         Los Angeles, CA 90030



                         Chase
                         PO Box 94014
                         Palatine, IL 60094



                         Chase
                         PO Box 15298
                         Wilmington, DE 19850



                         Chase Home Finance
                         4500 Cherry Creek S. Drive
                         Suite 410
                         Denver, CO 80246



                         Citibank
                         PO Box 6000
                         The Lakes, NV 89163-6000



                         Dell Preferred Account
                         Payment Processing Center
                         PO Box 6403
                         Carol Stream, IL 60197
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                     Department of Motor Vehicles
                     PO Box 932325
                     Sacramento, CA 94232



                     First Source Advantage
                     205 Bryant Woods South
                     Buffalo, NY 14228



                     Frederick Hanna & Assoc.
                     1427 Roswell Road
                     Marietta, GA 30062



                     Hunt & Henriques
                     151 Bernal Road #8
                     San Jose, CA 95119



                     Internal Revenue Service
                     Centralized Insolvency
                     PO Box 21126
                     Philadelphia, PA 19114



                     Kohl's
                     PO Box 3043
                     Milwaukee, WI 53201



                     Land Rover Capital Group
                     Dept. 194501
                     PO Box 55000
                     Detroit, MI 48255



                     MRS Associates
                     701 Brooksedge Plaza Dr.
                     Westerville, OH 43081



                     Nationwide Credit
                     2015 Vaughn Road
                     Bldg. 400
                     Kennesaw, GA 30144
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                     NCO Financial System
                     507 Prudential Road
                     Horsham, PA 19044



                     Nordstrom
                     PO Box 79137
                     Phoenix, AZ 85062



                     Raintree Vacation Club
                     PO Box 33370
                     Las Vegas, NV 89133



                     RJM Acquisitions
                     575 Underhill Blvd. #224
                     Syosset, NY 11791



                     US Bank
                     PO Box 790408
                     Saint Louis, MO 63179



                     US Bank
                     PO Box 790084
                     Saint Louis, MO 63179



                     Verrazzano HOA
                     9610 Waples Street
                     San Diego, CA 92121
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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                       SOUTHERN DISTRICT OF CALIFORNIA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                              Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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